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                                             UNITED STATES DISTRICT COURT
                                                DISTRICT OF NEW JERSEY

UNITED STATES OF N4ERICA                      Hon. Stanley R. Chesler

             V.                         ;     Criminal Number 08-176        (SRC)

ANTHONY AMBROSIO                              ORDER FOR CONTINUANCE


             This matter having come before the Court on the joint

application of Ralph J.      Marra,   Jr.,    Acting United States Attorney

for the District of New Jersey (by Anthony Moscato,                Assistant

U.S. Attorney), and defendant Anthony Anthrosio              (by his attorney

Anthony J.    lacullo,   Esq.)   for an order granting a continuance of

the proceedings in the above-captioned, and the defendant being

aware that he has the right to have the matter brought to trial

within 70 days of the date of the defendant’s appearance before a

judicial officer of this court pursuant to Title 18 of the United

States Code, Section 3161(c) (13, and as the defendant has

consented to such a continuance, and for good and sufficient

cause shown,

             IT IS THE FINDING OF THIS COURT that this action should

be continued for the following reasons;

             1.   Plea negotiations are currently in progress,               and

both the United States and the defendant desire additional time

to negotiate a plea agreement, which agreement would render any

trial of this matter unnecessary; and

             2.   The defendant has consented to the aforementioned

continuance; and
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           3.    under Title 18 of the United States Code, Section

3161(h)(6)(A), the ends of justice served by granting the

continuance outweigh the best interests of the public and the

defendant in a speedy trial.

           WHEREFORE, on this                    day of July 2009,       it   Ls

hereby ORDERED as follows:

           This matter will be continie4 from July 10,               2009

through October 1, 2009 and that period shall be excludable in

computin9 tiwe under the Speedy Trial Act of 19Th, pusuaat Co

Title 18, United States Code, Section 3161(h) (a) (A)




                                          ROW.   STANIâY R.    CHESLER
                                          United States District Judge




Form and entry consented tO:      -




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